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           EXHIBIT B
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Julie A. Neefe
201 Westgate Drive
Mount Holly Springs, Pa. 17065
I am a 59-year-old wife and mother who has worked full time my whole adult life as a helpmate
to my husband, James, to provide a moderate lifestyle for our family. I enjoy cooking, gardening
and keeping my home. I am a medical biller that has worked in that profession for 25 years. I
am currently employed at Casses Chiropractic Clinic in Carlisle, Pennsylvania.
I am the mother of Marshall James Neefe who has been incarcerated since September 13, 2021
for the events of January 6, 2021. Marshall was raised in a Christian home by loving parents
who instilled in him respect, responsibility, compassion, fairness and love. He has brought us so
much joy and laughter. At an early age he showed the love for music and art. He had a natural
ability to play music and played saxophone in a band during his school years. He then taught
himself how to play the piano and guitar and he also has a wonderful singing voice. He played
some sports but his passion has always been music and art.
After school he met his fiancé Victoria Dumond and they have a wonderful son together,
      . Marshall was the sole provider for his family as a residential construction framer and
driver for an Amish construction Company, O & R Construction, for the past 5 years. He has
never broken the law and has always had respect for law enforcement and has never shown
violence in any way.
I will also note that Marshall has a melancholic personality and a low self-esteem which drove
him to choose some friendships that are not good for him. He always talks a “big talk” to make
himself feel tough to fill a void in his life. One such friendship pushed him to the January 6th
rally in DC, where the hype, social media and event speakers sparked the massive crowds.
Marshall is not a violent person and would never hurt anyone. He is an “old soul” that is kind
and compassionate.

Marshall told me of his sincere remorse for being coerced into going to DC. He is so sorry to
put his family through all the pain and financial burden for a stupid mistake. He just wants to be
home and provide for his struggling family and be a steward in his community. He still has a full-
time job waiting for him when he is released.


Julie A. Neefe




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Dear Judge,
       This letter is in reference to Marshall James Neefe.
        We would like to start out by introducing ourselves. My name is Julie A Page, I am Jim
Neefe’s sister and Marshall’s aunt I spent the last 27 years as a Physical Therapist Assistant
with the last 16 years working with the Geriatric population. I am currently retired. My husband
Ronald A Page, (also retired) spent his entire career as a Business Executive both nationally
and internationally. His last position was the CEO of a corporation in Florida.
        We have lived in several states due to his career. Our current residence is 4868 County
Road 56 Auburn, IN since 2006. We purchased 27 acres and built a hobby farm making it into
our retirement dream.
         We have known Marshall since he was a baby in Coudersport PA. Marshall was a gift
to our extended family from God. My twin (Marshall’s father Jim) and his wife could not have
children of their own and adopted Marshal as a newborn. He showed talents in music and
writing at a very young age. He would play the organ with his grandmother and later mastered
the saxophone. He participated in the school’s concert and marching bands. Also taught himself
to play the guitar. He demonstrated an articulation for drawing skills and poetry. Marshal has
always made us so very proud.
       Marshall was always devoted to his friends and family. He met and fell in love with his
companion at 16. When Victoria decided to leave PA and go back home to MI to be with her
family Marshall followed her, he was only 17. After a few months this arrangement was not
working out for Marshall. He made the most important phone call of his life. He called us. He
wanted to move to Indiana to live with us and straighten out what had gone wrong. Marshall
dropped out of school in PA and realized that he needed his diploma. After arriving here
Marshall immediately signed up for classes at the Impact Institute in order to get his GED.
Marshall tested out of this 3-month program in 2 weeks. He then enrolled in their Welding
course. He earned his ASW Welding certificate on Oct. 10, 2014.
       Marshall was always willing to help us out on our farm no matter what the chore. He
enjoyed the animals and spent much of his off time with them. He also enjoyed going to work
with me and visiting with the residence of the nursing home, they enjoyed him very much.
        During the time that Marshall lived with us there was never any issue or negative
actions. We both missed him very much when he decided to move back to PA, after renewing
his relationship with Victoria.
          We continue to pray that Marshall has learned to always do what is right with the rest of
his life. To surround himself with positive people, people that can lift him up and not take him
down.
                                                                     Sincerely,
                                                                     Ronn and Julie Page




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       Dear Judge,

        My name is Hunter DeAngelo and I am Marshall Neefe’s friend. We have known each
other for about 7-8 years now. I first met him through a mutual friend, and he made it feel as if
we were best friends for a long time. That is the kind of person he is; very kind, welcoming,
joyful and respectful. It did not matter to him that we just met, he showed me his real self with
open arms. As I am sure he did with so many others. He always has an open door for his friends,
which I cherished. I have some of my best memories of my young adult life over at his house. He
knows how to pick you up when you are feeling down and genuinely wants the best for his
friends, there is no fake love there. I know he deeply loves his son and is regretful for his actions
on January 6th. I believe he was heavily influenced by Brad Smith in his decision-making that
day. I have never been a fan of Brad, he was irrational at times and his views were far from what
anyone would consider normal. Brad is the kind of guy that wants to see the world burn. Without
a doubt Marshall would not have been there if it wasn’t for Brad. He probably just wanted to
appease his friend and ended up going with no real intentions that day. Like I said he would do
anything for his friends, even if it was not in his best interest. I believe Marshall should return
home to his son because he needs his son as much as he needs father. He will come out of this
situation a better father and a better person.

                                                      Sincerely,

                                                      Hunter DeAngelo




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Jacob Young
600 Doubling Gap Rd
Newville, PA 17241




       Dear Judge,


        My name is Jacob Young, one of Marshall Neefe’s friends that he has acquired over the
years. I may have only known Marshall for roughly a little over 3 years, but I think that it only
takes being around someone a few times to know what kind of character they are. Marshall has
always been one of the few people that will always be around when you need him. He would just
come around the help me repair my car or just work around the house to help get a few things off
of my to do list. Marshall would give anyone the time of day if they asked for it, and would
never bat an eye to help someone in need. He holds his son         above everything else, and
anyone would be able to see that just from having a good conversation with him. Marshall was
always looking to have friends over for cookouts, or just to work on his project car in the garage.
He is no more than the small town man, just trying to make a living and give his loved ones a
good life.


       Sincerely,

       Jacob Young




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Ryan Heishman
1858 Spring Rd
Carlisle, PA 17013


To Whom It May Concern,


Marshall and I have spent time together on numerous occasions and is someone that I would call
a friend. Every interaction I've had with him has been nothing but a positive experience. In my
opinion Marshall is a good natured person who cares about those close to him. Marshall has
everyone's best interests in mind, and I have never seen him behave in an inappropriate manner. I
hope that his demeanor in his current situation helps prove that.

Thank you for your time,


Ryan Heishman




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Tyler Nastelli
400 Mt. Rock Rd
Newville, PA 17241

       Dear Judge,

        My name is Tyler Nastelli. I have known Marshall Neefe for close to 12 years. He has
been my best friend since day one. Marshall is one of the most reliable people I have ever met
in my life. He was there for me the moment my father passed away, whether it was helping
around the house or teaching me how to fix things myself or just to vent and listen. He has
always been the type of friend you could call, and he would drop everything to help you. He is
very open and honest about himself and never once alone has he ever brought up politics. I
have never known Marshall to be a political person unless Brad Smith was around. I have
known Marshall to be a very caring person, whether it was working long hours with the Amish
to provide for him and his family or taking family days where he could spend time with his
family.
        Marshall helped me a lot personally learning with how to be a producer. He loves music.
He was always ready to help me or play a guitar part for me. I know he also loves to work with
his hands, such as wood working. He would go on for hours about wood working with anybody
that was willing to listen. I believe his actions on January 6th were heavily influenced by others
because Marshall would do anything to seem cool to his friends. I believe that he went to the
Capitol just to go with the flow of it and got caught up in the moment.

       Sincerely,

       Tyler Nastelli




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